                    UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

In re:

State Road Allen Park, LLC,                   Case No. 19-45908-TJT
                                              Chapter 7
                                              Honorable Thomas J. Tucker
      Debtor.
________________________________/

                         TRUSTEE’S REPORT OF SALE


         Karen Evangelista, Chapter 7 Trustee, through her attorneys, The Taunt Law

Firm, hereby gives the following report of sale:

1. On June 29, 2021, this Court entered an order (the “Sale Order”; Docket No. 56)

authorizing the sale of Class C and SDM liquor licenses issued by the Michigan

Liquor Control Commission (the “MLCC”), License No. Class C – 000140735 and

SDM 000250736, Business ID No. 240020 and attendant permits (the “Property”)

to WAK, Inc.

2. The Sale Order authorized the sale of the Property for $52,500.00.

3. The Trustee closed on the sale of the Property on July 13, 2021, at the sale price

of $52,500.00 with WAK, Inc.




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4. The Sale Order authorized payment to Thomas Hospitality Group, Inc. and its

representative, Michael Scheid, is awarded compensation in the full and final

amount of $2,500, to be paid from the Purchase Price.

5. As such, the Trustee netted $50,000.00 from the sale of the Property.

                                               THE TAUNT LAW FIRM

                                               /s/ Dean R. Nelson, Jr. (P70818)
                                               Attorney for Trustee
                                               700 E. Maple Road, Second Floor
    Date: July 15, 2021                        Birmingham, MI 48009
                                               (248) 644-7800
                                               dnelson@tauntlaw.com




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                             CERTIFICATE OF SERVICE

      I certify that, on July 15, 2021, I filed the Trustee’s Report of Sale and this
Proof of Service via the Court’s ECF system which will give notice to the following
ECF participants:

   •     Karen E. Evangelista kee1008_tee@sbcglobal.net,
         MI30@ecfcbis.com;kee@trustesolutions.net
   •     Juandisha Harris     harrisj12@michigan.gov
   •     Michael D. Lieberman MLieberman@lipsonneilson.com,
         LOMeara@lipsonneilson.com;Mlieberman6160@yahoo.com
   •     Dean R. Nelson dnelson@tauntlaw.com,
         ecarter@tauntlaw.com;mmartin@tauntlaw.com
   •     Basil T. Simon     bsimon@sszpc.com, lbauer@sszpc.com
   •     Jason M. Torf      Jason.Torf@icemiller.com

Dated: July 15, 2021                       /s/ Emily R. Carter
                                           The Taunt Law Firm
                                           700 E. Maple Rd., 2nd Floor
                                           Birmingham, MI 48009
                                           (248) 644-7800
                                            ecarter@tauntlaw.com



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